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 5    3139 Mount Whitney Rd. Trust Dated 06/14/2021,
      U.S. Financial L.P., as Trustee
 6
 7
 8                            UNITED STATES BANKRUPTCY COURT
 9                             SOUTHERN DISTRICT OF CALIFORNIA
10
     In re:                              )               Case No.: 21-04335-LA13
11                                       )
     DEBRA LYNN TONER                    )               RS No.: LM3-1
12                                       )
                   Debtor.               )               MEMORANDUM OF POINTS &
13                                       )               AUTHORITIES IN SUPPORT OF
14   3139 MOUNT WHITNEY RD. TRUST DATED )                MOTION FOR IN REM RELIEF FROM
     06/14/2021, U.S. FINANCIAL L.P., AS )
     TRUSTEE                             )               STAY
15                                       )
                   Moving Party.         )               11 USC § 362(c)(4), 11 USC § 362(d)(4)
16                                       )
                                         )
17
     DEBRA LYNN TONER; TRUSTEE THOMAS )
     H. BILLINGSLEA                      )
18                                       )               The Honorable Louise DeCarl Adler
19                 Respondents.          )
                                         )
20                                       )
                                         )
21                                                 I.
22                                        INTRODUCTION
23            3139 MOUNT WHITNEY RD. TRUST DATED 06/14/2021, U.S. FINANCIAL L.P., AS
24 TRUSTEE (“Movant”) respectfully requests an order that no stay applies pursuant to 11 USC §
25 362(c)(4), as well as “in rem” relief pursuant to 11 USC § 362(d)(4) against DEBTOR DEBRA
26 LYNN TONER (“Debtor”) in order to continue the state court unlawful detainer proceeding for
27 possession of the real property located at 3139 Mt. Whitney Road, Escondido, CA 92029
28 (“Property”).
                                 Memorandum of Points and Authorities
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 1          No stay applies in this Bankruptcy as more than 30 days have elapsed since Debtor’s second
 2 bankruptcy filing in 1 year and “in rem” relief is warranted in this case as this is Debtor’s eighth
 3 bankruptcy and ownership was transferred as part of a scheme to delay, hinder, or defraud Movant.
 4                                                   II.

 5                                      STATEMENT OF FACTS
 6      A. DEED OF TRUST AND ASSIGNMENTS
 7          On April 13, 2007 Debtor and non debtor KEVIN P. CAREY executed a Deed of Trust for
 8 the Property in the amount of $637,500 with National City Bank. Attached to the Declaration of
 9 MOVANT as Exhibit 1 is a true and correct copy of the Recorded Deed of Trust.
10          On August 2, 2007 National City Bank assigned all beneficial interest under the
11 aforementioned Deed of Trust to its subsidiary National City Mortgage Co. Attached to the
12 Declaration of Movant as Exhibit 2 is a true and correct copy of the Recorded Assignment of Deed
13 of Trust.
14          On August 2, 2007 National City Mortgage Co. assigned all beneficial interest under the
15 aforementioned Deed of Trust to the Mortgage Electronic Registration Systems, Inc. Attached to the
16 Declaration of Movant as Exhibit 3 is a true and correct copy of the Recorded Assignment of Deed
17 of Trust.
18          On August 8, 2019 Mortgage Electronic Registration Systems Inc assigned all beneficial
19 interest under the aforementioned Deed of Trust to The Bank of New York Mellon, as Indenture
20 Trustee on Behalf of the Holders of the CSMC Trust 2010-16 Mortgage-Backed Notes and
21 Certificates, Series 2010-16 (“New York Mellon”).         Attached to the Declaration of Movant as
22 Exhibit 4 is a true and correct copy of the Recorded Assignment of Deed of Trust.
23      B. SUBSTITUTION OF TRUSTEE, NOTICE OF DEFAULT, AND TRUSTEE’S SALE
24          On December 12, 2019 New York Mellon designated National Default Servicing Corporation
25 as Successor Trustee under the aforementioned Deed of Trust. Attached to the Declaration of Movant
26 as Exhibit 5 is a true and correct copy of the Substitution of Trustee.
27
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 1         On December 12, 2019 National Default Servicing Corporation recorded and served a Notice
 2 of Default and Election to Sell Under Deed of Trust in the amount of $39,599.12. Attached to the
 3 Declaration of Movant as Exhibit 6 is a true and correct copy of the Notice of Default.
 4         On February 3, 2021 National Default Servicing Corporation recorded and served a Notice

 5 of Trustee’s Sale in the amount of $784,300.36. Attached to the Declaration of Movant as Exhibit
 6 7 is a true and correct copy of the Notice of Trustee Sale.
 7         On August 3, 2021 National Default Servicing Corporation recorded the Trustee’s Deed
 8 Upon Sale to Movant in the amount of $750,000.01. Attached to the Declaration of Movant as
 9 Exhibit 8 is a true and correct copy of the Trustee’s Deed Upon Sale.
10      C. DEBTOR’S PRIOR BANKRUPTCY FILINGS
11         Throughout this 14-year process, Debtor strategically filed a total of six Chapter 13
12 bankruptcies and one Chapter 7 bankruptcy, based on information and belief, for the sole purpose of
13 delaying the foreclosure of the Property and her eviction therefrom. See Case Docket – Notice of
14 Debtor’s Prior Filings dated November 10, 2021. Debtor previously filed her eighth Chapter 7
15 bankruptcy and received a discharge on December 15, 1997.
16      D. TITLE TRANSFER TO A REPEAT BANKRUPTCY FILER WITHOUT CONSENT
17         Debtor not only filed multiple bankruptcies but also Debtor’s co-owner, Kevin P Carey,
18 granted his interest in the Property – without lender’s consent – to Richard Lee Stanley on April 19,
19 2021. Attached to the Declaration of Movant as Exhibit 9 is a true and correct copy of the Grant
20 Deed. The same Richard Lee Stanley who Debtor recorded a lease agreement for the Property with
21 on April 17, 2021. Attached to the Declaration of Movant as Exhibit 10 is a true and correct copy
22 of the Memorandum of Lease. Mr. Stanley is no stranger to this Court having filed five prior
23 bankruptcies. Attached to the Declaration of Movant as Exhibit 11 is a true and correct copy of Mr.
24 Stanley’s prior Bankruptcy filings.
25      E. LIS PENDENS QUASHED AND REMAND FROM FEDERAL COURT

26         With the assistance of counsel on March 8, 2021, Debtor recorded a sanctionable Lis Pendens
27 following the filing of a wrongful foreclosure action against The Bank of New York Mellon.
28 Attached to the Declaration of Movant as Exhibit 12 is a true and correct copy of the recorded Lis
                                                      3
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 1 Pendens. On October 22, 2021 Debtor withdrew her lis pendens in response to the motion to quash.
 2 Attached to the Declaration of Movant as Exhibit 13 is a true and correct copy of the Civil Register
 3 of Actions #48.
 4         Movant’s unlawful detainer complaint for possession of the Property was filed September 1,

 5 2021 and Debtor removed the eviction to Federal Court which remanded the action back to state
 6 court on November 22, 2021. Attached to the Declaration of Movant as Exhibit 14 is a true and
 7 correct copy of the Unlawful Detainer Complaint. Attached to the Declaration of Movant as Exhibit
 8 15 is a true and correct copy of the Order on Remand.
 9         With the assistance of shadow counsel, Debtor has littered the Unlawful Detainer docket with
10 delay motions for 3 months until filing this, her eighth bankruptcy, to stay the eviction yet again.
11 Attached to the Declaration of Movant as Exhibit 16 is a true and correct copy of the Unlawful
12 Detainer Register of Actions. Attached to the Declaration of Movant as Exhibit 17 is a true and
13 correct copy of the Notice of Stay of Proceedings.
14                                                   III.
15                                        LAW & ARGUMENT
16      A. NO AUTOMATIC STAY IS IN EFFECT
17         Movant respectfully requests an order that no stay applies as this is Debtor’s second
18 bankruptcy filing within one year and no motion to extend the stay has been filed. 11 USC 362(c)(4).
19 See Case #21-00933 (filed 3/11/2021, Dismissed 04/09/2021) and #21-04335-LA13 (filed 11/09/21).
20      B. IN REM RELIEF – THE PETITION WAS PART OF A SCHEME TO DELAY, HINDER,
21         OR DEFRAUD CREDITORS

22         11 USC 362(d)(4)(A)&(B),

23                 (4)(A)(B) …(4) with respect to a stay of an act against real property
                   under subsection (a), by a creditor whose claim is secured by an
24
                   interest in such real property, if the court finds that the filing of the
25                 petition was part of a scheme to delay, hinder, or defraud creditors that
                   involved either—
26                 (A) transfer of all or part ownership of, or other interest in, such real
                   property without the consent of the secured creditor or court approval;
27                 or (B) multiple bankruptcy filings affecting such real property.
28
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            Section 362(d)(4) was amended by the Bankruptcy Technical Corrections Act of 2010, Pub.L.
 1
 2 No. 111-327, 124 Stat. 3557 (2010) and became effective on December 22, 2010. The conjunctive
 3 "and" in paragraph (4) was eliminated and replaced with the disjunctive "or." Therefore, after
 4 December 22, 2010, a party seeking relief from stay under § 362(d)(4) must show only a scheme by
 5
     debtor to delay, hinder or defraud. Goldenberg v. Deutsche Bank National Trust Co. (In re
 6
     Papazov), 2013 WL 2367802, *8 n.14 (9th Cir. BAP May 30, 2013); see also First Yorkshire
 7
     Holdings, Inc. v. Pacifica L 22, LLC (In re First Yorkshire Holdings, Inc.), 470 B.R. 864, 870 n.5
 8
 9 (9th Cir. BAP 2012).
10          Several cases have addressed this Code provision, including In re Hymes, 2013 WL 653060

11 (Bankr. D. Alaska Feb. 20, 2013), In re Tejal Investment, LLC, 2012 WL 6186159 (Bankr. D. Utah
12
     Dec. 12, 2012), and In re Briggs, 2012 WL 3780542 (Bankr. N.D.Ill. Aug. 31, 2012). Some cases
13
     note that "scheme" is not a term defined by the Code but is defined in dictionaries as "an artful plot
14
     or plan" or an "intentionally artful plot or plan, " or simply "a plan or program of action, " though
15
16 some say "a plan or program of action, especially a secret or crafty one."
17          Attempting to resolve the question solely through dictionary definitions is not ultimately

18 workable. As stated in Briggs : "[A] determination of whether or not a scheme exists will almost
19
     always have to be one of extrapolation. No debtor is expected to admit to having conducted a scheme.
20
     Rather, the court must attempt to deduce a scheme from the facts." Id. at *5. And recall, it must be a
21
     scheme designed to "hinder" or "delay" creditors. As noted in Tejal Investment, "delay" simply
22
23 means "to postpone to a later time" and "hinder" means "to get in the way of" or "to impede or delay
24 the progress of." Id. 2012 WL 6186159 at *5 n.12.
25          Under the case law, numerous factors may be relevant to a determination of an intent to
26 "hinder or delay." They include [1] the number of bankruptcy filings; [2] their frequency; [3] the
27
     time lapsed between filings; [4] whether the filings were dismissed, and [5] for what reasons; [6]
28
                                                       5
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     whether the evidence suggests the debtor had a legitimate belief that it could reorganize in such cases;
 1
 2 [7] the strategic timing of the cases, especially in relation to creditor collection efforts such as
 3 foreclosure; [8] any changes in circumstances between the various cases; and [9] others.
 4 Hymes noted that the timing and circumstances of the several cases may "constitute strong evidence
 5
     of an intent to delay and hinder secured creditors from collection." 2013 WL 653060 at *5. Tejal
 6
     Investment similarly looked to the timing of the filings, noting that the first petition was filed the day
 7
     before the creditor's action in state court to appoint a receiver was to be heard and the second petition
 8
 9 was days before a scheduled foreclosure sale, and "[t]ogether, these petitions evince a plan by the
10 Debtors to delay or hinder the Bank's efforts to move forward with remedies provided by state law."
11 2012 WL 6186159 at *6.
12
            The scheme in this case is readily apparent, Debtor has filed multiple bankruptcies, federal
13
     removals, frivolous motions in the Unlawful Detainer case, and a frivolous lawsuit against Movant
14
     to first prevent the Trustee Sale and now Movant from acquiring possession of the Property.
15
16          The factors as applied in this case:

17 1. Debtor has filed 8 total bankruptcies. Debtor’s co-tenant deeded his interest in the Property to
18      Richard Stanley who has 5 prior bankruptcies and without Movant’s permission. The Court need
19
        not wait for Mr. Stanley to begin filing bankruptcies on the Property to frustrate Movant as an
20
        “in rem” relief from stay order will prevent a combined 14th bankruptcy.
21
     2. 2 Bankruptcies were filed in the last year. All of the Chapter 13 Bankruptcies followed Chapter
22
23      7 bankruptcies where discharges were obtained. The timing of the 6 Chapter 13 bankruptcies

24      between 2014-2021 were either at critical points in the foreclosure process or now the eviction.

25 3. Debtor has filed 2 Chapter 13 bankruptcies this year and 2 others within the two year period
26      beforehand. The frequency of the filings has increased with pressure from the foreclosure and
27
        eviction.
28
                                                         6
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     4. But for the 2 Chapter 7 Bankruptcies, all 5 of Debtor’s prior Chapter 13 Bankruptcies were
 1
 2      dismissed and this case may also be on the dismissal track as Debtor has never had a plan

 3      confirmed..
 4 5. All 5 of Debtor’s prior Chapter 13 bankruptcies were dismissed by the Debtor voluntarily or by
 5
        the Trustee for failing to appear for the 341(a) hearing.
 6
     6. Debtor does not have a legitimate belief that she can reorganize in this case. Ostensibly, Debtor
 7
        would have retained counsel and submitted a confirmable plain in any of her 5 prior filings if she
 8
 9      had the means to do so.

10 7. All prior filings were strategically timed during the foreclosure or eviction process. Debtor
11      stalled the foreclosure auction two full years between 2019 and 2021.
12
     8. According to Debtor’s schedules none of her financial circumstances have changed in the prior
13
        six months.
14
     9. Debtor routinely seeks motions to extend time to file statements and schedules in order to buy
15
16      additional time in bankruptcy across all of her Chapter 13 filings. Debtor’s state court conduct

17      is similarly litigious and based on information and belief, intended to cause delay.

18          Movant respectfully requests that relief from stay be granted “in rem” under the
19
     circumstances.
20
     Respectfully submitted,
21
     Dated: December 17, 2021                               /s/Lawrence A. Mudgett III
                                                           ____________________________________
22                                                         Lawrence A. Mudgett III, Atty for Movant
23
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25
26
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